                     UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         STATESVILLE DIVISION

  UNITED STATES OF AMERICA     )        DOCKET NO. 5:14-CR-81
                               )
        vs.                    )
                               )
  ROGER DALE FRANKLIN,         )
                               )
             Defendant.        )
  _____________________________)


                   TRANSCRIPT OF ARRAIGNMENT HEARING
                  BEFORE THE HONORABLE DAVID S. CAYER
                    UNITED STATES MAGISTRATE JUDGE
                            APRIL 29, 2015



  APPEARANCES:
  On Behalf of the Government:
        STEVEN KAUFMAN, ESQ.
        United States Attorney's Office
        227 West Trade Street, Suite 1700
        Charlotte, North Carolina
  On Behalf of the Defendant:
        HAAKON THORSEN, ESQ.
        Law Offices of Haakon Thorsen
        1235-E East Boulevard, #239
        Charlotte, North Carolina


  Proceedings digitally recorded and transcribed by:

                       Cheryl A. Nuccio, RMR-CRR
                        Official Court Reporter
                      United States District Court
                       Charlotte, North Carolina




Case 5:14-cr-00081-RLV-DCK Document 63 Filed 05/31/16 Page 1 of 3
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1                               P R O C E E D I N G S
2                  (Transcript of proceedings digitally recorded on
3      April 29, 2015.)
4                  THE COURT:    United States versus Roger Franklin.
5                  Mr. Thorsen, is he prepared to be arraigned?
6                  MR. THORSEN:    He is, Your Honor.
7                  THE COURT:    Has he received a copy of the
8      indictment?
9                  MR. THORSEN:    He has.
10                 THE COURT:    Does he waive a formal reading of it?
11                 MR. THORSEN:    He waives a formal reading of it, he
12     does, Your Honor.
13                 THE COURT:    And what is his plea?
14                 MR. THORSEN:    He pleads not guilty.
15                 THE COURT:    Thank you.
16                 (End of proceedings.)
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     Case 5:14-cr-00081-RLV-DCK Document 63 Filed 05/31/16 Page 2 of 3
1      UNITED STATES DISTRICT COURT
2      WESTERN DISTRICT OF NORTH CAROLINA
3      CERTIFICATE OF REPORTER
4
5
6                  I, Cheryl A. Nuccio, Federal Official Realtime Court
7      Reporter, in and for the United States District Court for the
8      Western District of North Carolina, do hereby certify that
9      pursuant to Section 753, Title 28, United States Code, that
10     the foregoing is a true and correct transcript of the
11     digitally-recorded proceedings, transcribed to the best of my
12     ability, held in the above-entitled matter and that the
13     transcript page format is in conformance with the regulations
14     of the Judicial Conference of the United States.
15
16                 Dated this 31st day of May 2016.
17
18                                  s/Cheryl A. Nuccio
                                    _________________________
19                                  Cheryl A. Nuccio, RMR-CRR
                                    Official Court Reporter
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     Case 5:14-cr-00081-RLV-DCK Document 63 Filed 05/31/16 Page 3 of 3
